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 3
                                                   JUDGE RONALD B. LEIGHTON
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 6
                               UNITED STATES DISTRICT COURT
 7                       WESTERN DISTRICT OF WASHINGTON, AT TACOMA

 8   UNITED STATES OF AMERICA,           )
                                         )
 9         Plaintiff,                    )                NO. CR05-5747RBL
                                         )
10   vs.                                 )                ORDER
                                         )
11
     STACY CHARLES COMER,                )
12
                                         )
           Defendant.                    )
13   ____________________________________)

14
            THIS MATTER having come on regularly before the above-entitled Court upon the Motion
15
     of the Defendant, STACY CHARLES COMER, for production of trial testimony transcripts prior to
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     sentencing, the Court having considered the Motion, the files and records of this proceeding and the
17
     declaration of counsel for Defendant, and the Court being fully advised, now, therefore, it is hereby

                            Order                                                           THOMAS A. CENA, JR.
                                                                                                    Attorney at Law
                                                                                          2115 North 30th, Suite 201
                                                                                               Tacoma, WA 98403
                                                                                (253) 572-5120 Fax: (253) 593-4503
                                                                                   E-MAIL: TomC55@nventure.com
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 3
            ORDERED that defense counsel for the Defendant, STACY CHARLES COMER, is
 4
     authorized to receive transcripts of all trial testimony with respect to this matter.
 5
            DATED this 26th day of October, 2006.
 6

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                                            A
                                            RONALD B. LEIGHTON
 9
                                            UNITED STATES DISTRICT JUDGE

10   Presented by:

11   /s/ Thomas A. Cena, Jr.
     __________________________________________
12   THOMAS A. CENA, JR., WSBA NO. 6539
     Attorney for Defendant Comer
13

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                             Order                                                             THOMAS A. CENA, JR.
                                                                                                       Attorney at Law
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